                          Case 4:13-cv-00360-BSM Document 2 Filed 06/14/13 Page 1 of 10

                                                                                                                                         FILED
                                                                                                                                 U.S DIStRtCi COURT
                                           UNITED STATES DISTRICT COURT                                                       EASTERNlJI!liRfCiARKANSAS

                                                                                                                                     JUN 1 4 2013
                                   ~!STRICT O~~~ESW. M~ACK, CLERK
                  A · E:. ~nc h , ~ ~mi lv t 1 A'L        oep cLERK
                              Plaintiff(s)                        1 -"
  vs.                                                                                         Case Number:           L\ '. \~ CN s\.D D ~
KerHr<effA           A. Mctr-4-tt) 1                    M.D.
J qs on       l..-.tetrclet\nefe~~t(s)
A-1\ 5ure~c~l                 t-Tosrr¥·d               (/~li)/ E+A-L                          ThiscaseassignedtoDistrictJudge                         \'<\~\ec
                                                                                              and to Magistrate Judge __~... ·.~~--·~·
                                                                           COMPLAINT                                                                  \        J
  A. Parties                                                                                                                         tJ
        1)     Gr l      C)   r ,, Ci    A         I    ~ u. v'\C h         ' is a citizen of c.~                  Q(') )      lY\
                                     (Plaintiff)                                                                               (State)


             ":.jo~ides at P. o . \')ox                                     .2._ l o;,:"""~~.,:. ~rom~••~re) S 5 I 2 I
        2)   Defendant       \Ze n rvc::\·h .,1. M ot.rhnl MD                              is a citizen of               Pc.t l a.s \Z.' C0 ,
              d      ~S c 't'\ Wa ~de tii(N£~ o4st'defendant)                                                                        (City, State)             •

             andisemployedas             M<t-ol,'c~l 0                     r+ho D (9cWv 0~ ~. tc\4Vl AsslS.~n.)+-
                                                                                •         (Position and title, if any)       l:J' 0..5 0 ()          ~~ Q. v-c;le ll
        3)   Defendant        A~ ~ \. { r j IV-tl                  \-l 0 sr ~~ \
                                                   (Name of second defendant)
                                                                                            is a citizen of              N Of th L( rt' 1-\ ~
                                                                                                                                     (City, State)

             and is employed as         Surq ic~l
                                                        V
                                                                          \-tt>cs.~,~ \-
                                                                                    I
                                                                                                    lZtsl<-. N
                                                                                          (Position and title, if any)
                                                                                                                              ~C-<.C\~
                                                                                                                                         V           f'\
                                                                                                                                                           t
  [You may attach additionalpages (BU "x 11 ")to furnish the above information for additional defendants.]
                         Case 4:13-cv-00360-BSM Document 2 Filed 06/14/13 Page 2 of 10


    I allege the following:

             1.
                  sE-E-:

                  Supporting Facts: (Include       acts you consider important, including names of persons involved, places and dates. Describe exactly
                  how each defendant is invol d. State the facts clearly in your own words without citing legal authority or argument.)


                                           Medlce\ Dt>CdJm~:h~2

             2.




                  Supporting Facts: (Include all facts you consider important, including names of persons involved, places and dates. Describe exactly
                  how each defendant is involved. State the facts clearly in your own words without citing legal authority or argument.)




             3.




                  Supporting Facts: (Include all facts you consider important, including names of persons involved, places and dates. Describe exactly
                  how each defendant is involved. State the facts clearly in your own words without citing legal authority or argument.)

                  SE-c-:        B . F

[Ifnecessaty, you may attach additionalpages {816 "x 11 ')to explain any allegation or to list additional supporting facts in the same format as above.}


E. Request for Relief




                                                                                 Current Address   P 0 6ox
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                                                                                                                                          l'v\l'J
                                                                                 City
                                                                                        t:Ccj CU) I                               State      ZIP


                                                                                        5o\) l.ol3- 8                           '1'"1~
 Complaint                                                                         2                                                                       C\
Case 4:13-cv-00360-BSM Document 2 Filed 06/14/13 Page 3 of 10


                             Telephone
                Case 4:13-cv-00360-BSM Document 2 Filed 06/14/13 Page 4 of 10


Social Security Administration

                                                                          Date: April 4, 2013
                                                                          Claim Number: XXX-XX-2934A
                                                                                          XXX-XX-2934DI
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R        IBEV010004405 0.345 MB 0.405
     GLORIA BUNCH
     1455 UPPER 55TH ST E
                                                   '1'00000016


     APT 208
     INVER GROVE HEIGHTS MN 55077-1530




 You asked us for information from your record. The information that you
 requested is shown below. If you want anyone else to have this information,
 you may send them this letter.
 Information About Current Social Security Benefits
    Beginning December 2012, the full monthly Social Security benefit before any
    deductions is $ 1194.60.
    We deduct $104.90 for medical insurance premiums each month.
    The regular monthly Social Security payment is $ 1089.00.
    (We must round down to the whole dollar.)
    Social Security benefits for a given month are paid the following month. (For
    example, Social Security benefits for March are paid in April.)
    Your Social Security benefits are paid on or about the third of each month.
 Information About Past Social Security Benefits
    From December 2011 to November 2012, the full monthly Social Security
    benefit before any deductions was $ 1174.70.
    We deducted $99.90 for medical insurance premiums each month.
    The regular monthly Social Security payment was $ 1074.00.
    (We must round down to the whole dollar.)
 Information About Supplemental Security Income Payments
    Beginning March 2002, the current Supplemental Security Income
    payment 1s $ 0.00.
    This is after we have withheld 241.00 to recover an overpayment.


                                                          See Next Page
               Case 4:13-cv-00360-BSM Document 2 Filed 06/14/13 Page 5 of 10

    XXX-XX-2934A                                                          Page 2 of 2
    XXX-XX-2934DI


     This payment amount may change from month to month if income or living



                                                                                          •
     situation changes.
     Supplemental Security Income Payments are paid the month they are due.
     (For example, Supplemental Security Income Payments for March are paid in
     March.)
     Payments were stopped beginning August 2007.
    Date of Birth Information
     The date of birth shown on our records is April 20, 1963.
    Medicare Infor1nation
     You are entitled to hospital iysurance under Medicare beginning
     September 1999.
     You are entitled to medical insurance under Medicare beginning
     September 1999.
    Type of Social Security Benefit Information
     You are entitled to monthly disability benefits.
    If You Have Any Questions
     If you   have any questions, you may call us at 1-800-772-1213, or call your local
     Social   Security office at 866-964-'7341. We can answer most questions over the
     phone.    You can also write or visit any Social Security office. The office that
     serves   your area is located at:
                                     SOCIAL SECURITY
                                     SUITE 100
                                     6161 AMERICAN BLVD W
                                     BLOOMINGTON MN 55438
                                                      I




     If you do call or visit an office, please have this letter with you. It will help
     us answer your questions.




-
                       NOTICEDocument
     Case 4:13-cv-00360-BSM   OF ANNUITY ADJU=sTMENl
                                      2 Filed 06/14/13 Page 6 of 10
              This notice informs you of a change in the amount of your payments. Please read the
              back of the notice. If you have questions, call us or write to the address shown below.




                                                                          -6.85
                                                            46           -18.53
                                                            42           -89.46
                                                            43            -9.16                                                             N
                                                                                                                                            ~
                                                                                                                                            ~
     1247.00             -121.88                            31           -43.46                                                             0
                                                                                                                                            ~

                                                            LI            -1.95
                                                            19            -6.85
                                                            46           -18.53
                                                            42           -89.46
                                                            43            -9.16
     1269.00             -121.88                            31           -45.66
*SEE BACK FOR CODES FOR OTHER DEDUCTIONS OR ADDITIONS                                              YOUR PAYMENT DATED: 01/02/2013
 UNITED STATES OFFICE OF PERSONNEL MANAGEMENT                                                                       IIIWI$1$!1MI:Iij;
 RETIREMENT OPERATIONS CENTER
 POBOX45
                                                                                   REFER TO
                                                                               THIS NUMBER ........
                                                                             WHENEVERYOU ,.......
                                                                                                      I        CSA 8 374444 0
                                                                                                                                        I
                                                                              CONTACTOPM            L.- - - - - - - - - - - - '
 BOYERS PA 16017-0045
Reason for adjustment.         You may use this notice as proof of your current rate of annuity.
        YOUR NEW GROSS MONTHLY ANNUITY REFLECTS A 1.?,%
        COST-OF-LIVING AD3USTMENT. BY LAW. THE INCREASE IS
        ROUNDED DOWN TO THE NEXT WHOLE DOLLAR.
        THE AMOUNT OF FEDERAL INCOME TAX WITHHELD FROM YOUR
        ANNUITY HAS CHANGED.
        EFFECTIVE 3ANUARY 1. 2013, YOUR MONTHLY HEALTH
        BENEFITS PREMIUM FOR PLAN 111 WILL BE $127.99.
        IF THE HEALTH BENEFITS PREMIUM SHOWN IN THIS MESSAGE
        IS THE ONLY CHANGE AFFECTING YOUR FEBRUARY 1 PAYMENT,
        YOU MAY NOT RECEIVE A SEPARATE NOTICE OF ANNUITY

                                          l
                           To calf our toll-free number, dial 1-888-767-6738 (TOO 1-855-887-4957).




                                          0042451 04*45'0 1*28536-0l

                                       • GLORIA A BUNCH                                                                                     "'
                                                                                                                                            ~
                                                                                                                                            01
                                          APT 208                                                                                           2
                                          1455 UPPER 55TH.ST E
                                          INVER GROVE MN 55077-1530
                                         .,., •• ,•• ,,.,,1111• ...,tlltl tll••'•·ll ,... ,,.,h ... ,.........,••
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                                                     MINNESOTA
                                                     MENTAL
                                         "-1lillil!~~ HEALTH
                                                     CLINICS




 March 27,2013




Dear Judge'

I am a clinical psychologist writing this letter at the request of Gloria Bunch whom I had
worked with Gloria Bunch from 11-14-11 to 1-26-13 to treat her depression and
posttraumatic stress disorder. The issue addressed in this letter pertains to her limited
economic resources and competency to represent herself in court. In my opinion, the
physical pain and anxiety she experiences, along with the complexity of the legal matters
she is dealing with, would compromise her ability to represent herself in court. It is my
hope that the court would assist Ms. Bunch is securing legal representation.

Thank you for your time and consideration.

Sincerely,

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Licensed Psychologist




Minnesota Mental Health Clinics Eagan Clinic-3450 O'Leary Lane, Eagan MN 55123 Phone: 651-454-0114 Fax: 651-454-3492
            Edina Clinic- 6525 Drew Ave. So. Edina, :VIN Appointments call 651-365-8222 Fax: 651-454-3492
             Lakeville Clinic-18586 Joplin Ave., Lakeville, MN 55044 Phone: 952-435-8700 Fax: 952-435-0559
    Maplewood Clinic- 2785 White Bear Ave. Suite 403, Maplewood, MN 55109 Phone: 651-779-0069 Fax:651-779-0206
   Southwest Minneapolis Clinic-5346 Lyndale Ave. So., Minneapolis, MN 55419 Phone: 612-746-5888 Fax: 612-746-5518
        Woodbury C!inic-1000 Radio Dr. Suite 210, Woodbury, MN 55125 Phone: 651-365-8209 Fax: 651-739-0272
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                                                 MINNESOTA
                                                 MENTAL
                                                 HEALTH
                                                 CLINICS




July 18, 2012

MarkRoos
Dakota County Adult Services

Dear Mr. Roos,

This letter is written on behalf of Gloria Bunch who I have been seeing since 11-14-11
for individual psychotherapy. She has been diagnosed with major depressive disorder as
well as posttraumatic stress disorder. Her case has been complicated by psychological
losses and trauma while she was living in Arkansas and Texas associated with her work
and with physical impairment, and chronic pain resulting from failed orthopedic
procedures. This has left her with significant loss of mobility and function, contributing
to her depression. Gloria is facing eviction from her son whom she has been living with
since she moved from Oklahoma. She has found an apartment at Salem Green in Inver
Grove Heights with a heated indoor pool which would be an ideal location from which to
meet her orthopedic needs and treat her chronic pain. I am also requesting PCA services
to help maintain her independence and, if possible, fmancial assistance for rent and
deposit.

Thank you for your time and consideration.

Sincerely,


~z:~
Licensed Psychologist                                                                       Minnesota
                                                                                            Mental Health Clinics

                                                                     ---r,~·         Robert Havel, Psy.D., L.P.
                                                                                           licensed Psychologist
                                                                                   3450 O'Leary lane, Eagan, MN 55123
                                                                                      Appointments: (651) 454-0114
                                                                                        Voice Mail: (651) 365-8207




Minnesota Mental Health Clinics Eagan Oinic-3450 O'Leary Lane, Eagan MN 55123 Phone: 651-454-0114 Fax: 651-454-3492
              Edina Clinic- 6525 Drew Ave. So. Edina, MN 55435 Phone: 612-746-5888 Fax: 612-746-5518
             Lakeville Oinic-18586 Joplin Ave., Lakeville, MN 55044 Phone: 952-435-8700 Fax: 952-435-0599
   Southwest Minneapolis Clinic-5346 Lyndale Ave. So., Minneapolis, MN 55419 Phone: 612-746-5888 Fax: 612-746-5518
    Maplewood Clinic 2785 White Bear Ave. Suite 403 Maplewood, MN 55109 Phone: 651-779-0069 Fax: 651-779-0206
        Woodbury Oinic-1000 Radio Dr. Suite 210, Woodbury, MN 55125 Phone: 651-365-8209 Fax: 651-739-0272
            Case 4:13-cv-00360-BSM Document 2 Filed 06/14/13 Page 9 of 10


                                       Twin Cities Pain Clinic
                                 Physidan direded pain management &physicallhenpy
                                                                                     Tel: (952) 841·2345
                                                                                  fD: (9S2) 841·2346
                                                                           www.twincitiespaincinic.coll'l


May 01,2013


RE:          Gloria Bunch
DOB:         04/20/1963


To Whom it May Concern:

Gloria Bunch is a patient at this clinic. Please allow patient to keep her file open and give patient
more time to meet her deadlines due to her ADA status as patient has chronic pain and unable to
walk. Contact clinic for further questions.
                 Case 4:13-cv-00360-BSM Document 2 Filed 06/14/13 Page 10 of 10


                                               Twin Cities Pain Clinic
                                        Physician directed pain management & physical therapy
                      7235 Ohms lane
                      Edina, MN SS4J9                                                           Tel: (952) 841-2345
                                                                                                F~ (952) 841·2146
                                                                                      v.ww.tllfinclliespainclinic.com
 January 14, 2013

 RE:             Gloria Bunch
 008:            04/20/1963


 To Whom it May Concern:


Gloria Bunch is a patient at this clinic. Patient receives narcotic pain medication from this clinic for her
chronic pain. Common side effects include drowsiness and decreased concentration which may affect
patient's ability to concentrate or answer questions. Please contact clinic with questions.


Sin~er
     ly,     ·
           ~
Jenna   erman GNP
